Case 8:15-cv-00202-JGB-JCG Document 358 Filed 10/20/21 Page 1 of 2 Page ID #:10740




     1                                                              JS-6
     2
     3
     4
     5
     6
     7
     8
                             UNITED STATES DISTRICT COURT
     9
                         CENTRAL DISTRICT OF CALIFORNIA
   10
   11
         AFROUZ NIKMANESH,                       Case No. 8:15-cv-00202-JGB (JCGx)
   12
                                Plaintiff,       Honorable Jesus G. Bernal
   13
                       vs.
   14
                                                 JUDGMENT
   15
      WAL-MART STORES, INC., a
   16 Delaware corporation, and WAL-
      MART ASSOCIATES, INC., a
   17 Delaware Corporation, and DOES 1
      through 10, inclusive,
   18
                              Defendants.
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                1                    8:15-cv-00202-JGB (JCGx)
                                             JUDGMENT
Case 8:15-cv-00202-JGB-JCG Document 358 Filed 10/20/21 Page 2 of 2 Page ID #:10741




     1                                      JUDGMENT
     2        This action came regularly for trial on August 24, 2021 in Courtroom 1 of the
     3 United States District Court, Central District of California, Honorable Jesus G.
     4 Bernal presiding. Plaintiff Afrouz Nikmanesh was represented by attorneys Dayton
     5 B. Parcells III of Parcells Law Firm and Eric Epstein of Eric M. Epstein, APC.
     6 Defendants Wal-Mart Stores, Inc. and Wal-Mart Associates, Inc. were represented
     7 by Cheryl Johnson-Hartwell, Susan E. Coleman, and Susan V. Arduengo of Burke,
     8 Williams & Sorensen, LLP.
     9        A jury was regularly empaneled and sworn. Witnesses were sworn and
   10 testified, and exhibits were admitted into evidence. After hearing the evidence and
   11 arguments of counsel, the jury was duly instructed by the Court and the case was
   12 submitted to the jury. The jury deliberated and thereafter returned a verdict.
   13         Based upon that verdict, IT IS NOW THEREFORE ORDERED, ADJUDGED
   14 AND DECREED that final judgment in this action be entered as follows:
   15         In favor of Plaintiff Afrouz Nikmanesh and against Defendants Walmart Inc.
   16 (formerly known as Wal-Mart Stores, Inc.) and Wal-Mart Associates, Inc. in the total
   17 sum of $27,500,100.00, representing: (1) $40,100.00 for past economic losses; (2)
   18 $100,000.00 for past non-economic losses; (3) $60,000.00 for future non-economic
   19 losses; and (4) $27,300,000.00 for punitive damages.
   20          Plaintiff Afrouz Nikmanesh may apply to the Court for an award of costs as
   21 permitted to the Federal Rules of Civil Procedure and Central District Local Rules.
   22
   23         IT IS SO ORDERED.

   24
   25
   26 Dated: October 20, 2021                 __________________________________
   27                                              Honorable Jesus G. Bernal
                                                   United States District Judge
   28
                                                  2                       8:15-cv-00202-JGB (JCGx)
                                               JUDGMENT
